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Counsel for Highland Capital Management, L.P.

                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

                                                       §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                       §
                                                       §
                                 Plaintiff,
                                                       §
                                                       §   Adv. Proc. No. 21-03003-sgj
 vs.
                                                       §
                                                       §
 JAMES DONDERO, NANCY DONDERO, AND THE
                                                       §
 DUGABOY INVESTMENT TRUST,                                 Case No. 3:21-cv-00881-X
                                                       §
                                                       §
                                 Defendants.
                                                       §
                                                       §




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                                                       §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                       §
                                                       §
                                                       §   Adv. Proc. No. 21-03004-sgj
                                 Plaintiff,
                                                       §
 vs.                                                   §
                                                       §
                                                       §   Case No. 3:21-cv-00881-X
 HIGHLAND CAPITAL MANAGEMENT FUND                      §
 ADVISORS, L.P.,                                       §
                                                       §
                                                       §
                                 Defendant.            §
                                                       §
                                                       §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                       §
                                                       §
                                 Plaintiff,                Adv. Proc. No. 21-03005-sgj
                                                       §
                                                       §
 vs.
                                                       §
                                                       §
 NEXPOINT ADVISORS, L.P., JAMES                            Case No. 3:21-cv-00881-X
                                                       §
 DONDERO, NANCY DONDERO, AND
                                                       §
 THE DUGABOY INVESTMENT TRUST,
                                                       §
                                                       §
                                 Defendants.           §
                                                       §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                       §
                                                       §
                                 Plaintiff,                Adv. Proc. No. 21-03006-sgj
                                                       §
                                                       §
 vs.
                                                       §
                                                       §
 HIGHLAND CAPITAL MANAGEMENT                               Case No. 3:21-cv-00881-X
                                                       §
 SERVICES, INC., JAMES DONDERO,
                                                       §
 NANCY DONDERO, AND THE DUGABOY
                                                       §
 INVESTMENT TRUST,
                                                       §
                                                       §
                                 Defendants.
                                                       §




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                                                               §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                               §
                                                               §
                                   Plaintiff,                  § Adv. Proc. No. 21-03007-sgj
                                                               §
    vs.                                                        §
                                                               § Case No. 3:21-cv-00881-X
    HCRE PARTNERS, LLC (n/k/a NexPoint                         §
    Real Estate Partners, LLC), JAMES                          §
    DONDERO, NANCY DONDERO, AND                                §
    THE DUGABOY INVESTMENT TRUST,                              §
                                                               §
                                                               §
                                   Defendants.                 §

    HIGHLAND CAPITAL MANAGEMENT, L.P.’S MOTION FOR LEAVE TO SUPPLEMENT
         BACKUP DOCUMENTATION IN SUPPORT OF PROPOSED JUDGMENT

          Highland Capital Management, L.P. (the “Plaintiff” or “Highland”), by and through its

undersigned counsel, hereby files this motion (the “Motion”) to supplement its backup

documentation (the “Backup Documentation”) in support of its Notice of Attorneys’ Fees

Calculation and Backup Documentation 1 (the “Notice of Attorneys’ Fees”) in support of its

Proposed Form of Judgment (the “Proposed Judgment”) in connection with the above-captioned

adversary proceedings (the “Adversary Proceedings” or “Notes Litigation”).

                                  I.       RELEVANT BACKROUND

          1.     On December 17, 2021, Plaintiff moved for summary judgment in the Adversary

Proceedings against Highland Capital Management Fund Advisors, L.P. (“HCMFA”), and for

partial summary judgment against James D. Dondero (“Dondero”), NexPoint Advisors, L.P.

(“NexPoint”), Highland Capital Management Services, Inc. (“HCMS”), and HCRE Partners, LLC

(n/k/a NexPoint Real Estate Partners, LLC) (“HCRE”) (collectively, the “Defendants”). See Adv.




1
 See Adv. Pro. No. 21-03003 at Docket No. 197; Adv. Pro. No. 21-03004 at Docket No. 169; Adv. Pro. No. 21-03005
at Docket No. 214; Adv. Pro. No. 21-03006 at Docket No. 219; and Adv. Pro. No. 21-03007 at Docket No. 214.



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Proc. Nos. 21-03003-sgj at Docket No. 132; 2 21-03004-sgj at Docket No. 83; 21-03005-sgj at

Docket No. 131; 21-03006-sgj at Docket No. 129; and 21-03007-sgj at Docket No. 124

(collectively referred to as the “Motion for Summary Judgment”). Oral argument on the Motion

for Summary Judgment was held on April 20, 2022.

           2.       On July 20, 2022, the Bankruptcy Court issued its Report and Recommendation to

the District Court: Court Should Grant Plaintiff’s Motion for Partial Summary Judgment Against

All Five Note Maker Defendants (With Respect to All Sixteen Promissory Notes) in the Above-

Referenced Consolidated Note Actions [D. Ct. Docket No. 50-1] 3 (the “R&R”), in which it

recommended that this Court grant the Motion for Summary Judgment against all Defendants.

           3.       On August 5, 2022, in accordance with the Bankruptcy Court’s directive in the

R&R, Highland filed the Notice of Attorneys’ Fees with respect to, among other things, Plaintiff’s

cost of collection arising from legal services provided by its lead counsel, Pachulski Stang Ziehl

& Jones LLP (“PSZJ”).

           4.       On August 23, 2022, Defendants filed their objections to (a) the R&R 4 (the “R&R

Objection”) and (b) the Proposed Judgment 5 (the “Proposed Judgment Objection”).

           5.       As relevant here, Defendants objected to the Proposed Judgment on the ground that,

in pertinent part, there was an alleged “math error” of $395,996.50, see Proposed Judgment

Objection at 5-6 (the “Alleged Math Error”), and “[t]here may be a small portion of that amount




2
  Refers to the docket maintained in the United States Bankruptcy Court for the Northern District of Texas, Dallas
Division (the “Bankruptcy Court”).
3
    Refers to the docket maintained in the District Court.
4
    See D. Ct. Docket Nos. 62 and 63.
5
 See Adv. Pro. No. 21-03003 at Docket No. 204; Adv. Pro. No. 21-03004 at Docket No. 173; Adv. Pro. No. 21-03005
at Docket No. 221; Adv. Pro. No. 21-03006 at Docket No. 226; and Adv. Pro. No. 21-03007 at Docket No. 221.



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attributable to partially redacted entries for which the total was redacted, making it unduly difficult

to decipher,” id. at 6 n. 2 (the “Relevant Objection”).

        6.       On September 20, 2022, Highland’s counsel emailed Defendants’ counsel in an

attempt to resolve the Relevant Objection. Morris Dec. Ex. A. 6

        7.       Specifically, Highland’s counsel informed Defendants’ counsel that there is no

Alleged Math Error because there are two simple reasons for the discrepancy: (a) Highland

inadvertently omitted from its Backup Documentation the invoices for January and February 2022,

and (b) some entries were redacted because they referred to tasks unrelated to the Notes Litigation,

but the unredacted time should be added up and multiplied by the hourly rate of the applicable

timekeeper. Morris Dec. Ex. A. Highland also attached to its email, inter alia, the invoices for

January and February 2022 (the “Supplemental Invoices”), which total $307,493.50 (and which

therefore accounts for almost 80% of the Alleged Math Error). Morris Dec. Ex B and Ex. C,

respectively.

        8.       Highland’s counsel also proposed to stipulate to this issue in order to reduce the

burden on the Court, advising Defendants’ counsel that if they did not respond by noon on Friday,

September 23, 2022, Highland would move for leave to supplement the Backup Documentation

with the Supplemental Invoices. Morris Dec. Ex. A.

        9.        Defendants’ counsel did not respond by September 23, 2022 (or anytime

thereafter). Accordingly, Highland files the instant Motion.




6
 References to “Morris Dec.” are to the Declaration of John A. Morris in Support of Highland Capital Management,
L.P.’s Motion for Leave to Supplement Backup Documentation in Support of Proposed Judgment, filed concurrently
herewith.



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                                      II.          RELIEF REQUESTED

        10.      Highland respectfully requests leave, pursuant to Local Rule 56.7, to supplement

the Backup Documentation with the Supplemental Invoices, as the Supplemental Invoices were

inadvertently omitted from the Backup Documentation when the Notice of Attorneys’ Fees was

originally filed on August 5, 2022.

                                            III.     CONCLUSION

        WHEREFORE, Highland respectfully requests that the Court enter an order, substantially

in the form attached hereto as Exhibit A, granting Highland leave to supplement its Backup

Documentation with the Supplemental Invoices, and granting Highland such other and further

relief it deems just and proper.

                               [Remainder of Page Intentionally Blank]




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Dated: September 27, 2022.
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                                              - and -



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                                CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that, on September 20, 2022, counsel for Highland
corresponded with counsel for Defendants regarding the relief requested in the foregoing Motion,
and counsel for Defendants did not respond regarding the relief requested in the Motion.

                                                    /s/ Zachery Z. Annable
                                                    Zachery Z. Annable




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